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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                Date: January 22, 2020
Court Reporter: Tammy Hoffschildt                              Interpreter: n/a
Probation: n/a

CASE NO. 19-cr-00384-RM

Parties                                                        Counsel

UNITED STATES OF AMERICA,                                      Julia Martinez

      Plaintiff,

v.

1. WESLEY DAVID GILREATH,                                      Laura Suelau

      Defendant.




                                 COURTROOM MINUTES

COMPETENCY HEARING
COURT IN SESSION:  9:00 a.m.

Appearances of counsel. Defendant is present and in custody.

Discussion held regarding the status of the case and the report filed by Dr. Bograd.

No further argument is given by counsel.

The Court states his findings regarding the defendant’s competency, determining that the
defendant is competent and able to understand the nature and the consequences of the
proceeding against him and to assist properly in his defense.

Discussion held regarding setting this matter for trial.

ORDERED: A four-day jury trial is set for April 13, 2020. Counsel and the defendant
         shall be present at 8:30 a.m. on the first day of trial and at 9:00 a.m. on
         subsequent days.
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ORDERED: Motions are due on or before February 28, 2020, and responses are due
         on or before March 13, 2020.

A Trial Preparation Conference will be set by separate order.

ORDERED: Defendant is remanded to the custody of the U.S. Marshal Service.

COURT IN RECESS:           9:09 a.m.
Total in court time:       00:09
Hearing concluded
